             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                  CIVIL CASE NO. 1:12-cv-00068-MR
             [Criminal Case Nos. 1:08-cr-00082-MR-DLH-1;
          1:09-cr-00055-MR-DLH-2; 1:09-cr-00058-MR-DLH-3]



VINCENT LAMAR BOULWARE,                )
                                       )
                       Petitioner,     )
                                       )
                 vs.                   )      MEMORANDUM OF
                                       )      DECISION AND ORDER
UNITED STATES OF AMERICA,              )
                                       )
                   Respondent.         )
______________________________         )



     THIS MATTER is before the Court on Petitioner’s Motion to Vacate,

Set Aside, or Correct Sentence under 28 U.S.C. § 2255; [Doc. 1]; the

Government’s Motion for Summary Judgment [Doc. 12]; Petitioner’s

Renewed Motion Requesting Leave to Conduct Discovery [Doc. 16];

Petitioner’s Renewed Motion to Expand the Record [Doc. 18]; and

Petitioner’s Renewed Motion Requesting Psychological Expert to Establish

Matter for the Defense Pursuant to 18 U.S.C. § 3006A [Doc. 19].




  Case 1:08-cr-00082-MR-WCM    Document 134   Filed 02/03/14   Page 1 of 36
I.     BACKGROUND

       A.    The Offense Conduct

             1.    The Bank Robbery in the District of South Carolina

       On March 7, 2008, Larry Copeland and Donald O’Leary entered the

Bank of York, in York, South Carolina and, while brandishing pistols,

robbed the bank of $18,550. [See Criminal Case No. 1:08-cr-00082-MR-

DLH, Doc. 91 at 7]. In later statements to investigators, both Copeland and

O’Leary confessed to the robbery and also implicated Petitioner as the

getaway driver. [Id. at 8]. Copeland said that Petitioner had stopped the

truck he was driving near the bank and told the other two to go into the

bank, and O’Leary said that it was Petitioner who had written the stick-up

note that they handed to the teller. [Id.]. When Petitioner was interviewed

shortly after his arrest, he denied that he had driven Copeland and O’Leary

to the bank and instead claimed that he had simply been in York a couple

of days earlier to pick up his aunt. [Id.].

             2.    The Bank Robbery the Middle District of North
                   Carolina

       On March 20, 2008, Copeland and Altoe Wallace entered a branch of

First Citizens Bank and Trust in Greensboro, North Carolina, and robbed it

of $11,670, with Wallace pressing a pistol muzzle into a teller’s stomach

during the crime.     [Id. at 8-9].   When interviewed by law enforcement
                                        2

     Case 1:08-cr-00082-MR-WCM    Document 134   Filed 02/03/14   Page 2 of 36
investigators following his arrest, Copeland said that this robbery was

Petitioner’s idea and that Petitioner was the getaway driver. [Id. at 9].

When the FBI interviewed Petitioner a few months after his arrest, he said

that he knew that Copeland and “Altoe” were going to Greensboro to

commit a robbery and that Copeland asked Petitioner to pick them up in

Salisbury after the robbery. [Id.] He denied that he knew it was a bank that

they were going to rob, but he did say that he agreed to drive them away

from the area after they abandoned the car they had used to commit the

robbery. [Id.].

            3.    The Bank Robbery in the Western District of North
                  Carolina

      On April 7, 2008, Copeland and O’Leary entered the Premier Credit

Union in Forest City, North Carolina, and ordered everyone onto the floor,

after which one of them pistol-whipped the branch manager, one of them

pointed a gun at a teller, and they threatened to shoot someone. [Id.].

They fled the bank with $18,900 and a teller’s purse, leaving in a green

Ford Thunderbird, but then switching to a black pickup truck. [Id. at 10]. In

his post-arrest interview, Copeland said that he and Petitioner had driven

past this bank the day before the robbery and Petitioner had said that this

was “the one”; that Copeland used an unloaded .357 pistol during this

robbery; that Petitioner planned all the robberies; and that they split the
                                     3

  Case 1:08-cr-00082-MR-WCM     Document 134   Filed 02/03/14   Page 3 of 36
money from the robbery. [Id.]. O’Leary also admitted his involvement in

this robbery and said that Petitioner was the getaway driver. [Id.]. He said

that he, Copeland, and Petitioner had traveled to Forest City the day before

the robbery and had picked out the bank they were going to rob. [Id.].

Petitioner drove them to Forest City in a black Ford pickup truck and

Copeland bought a stolen green Thunderbird that they dropped off near the

bank the night before the robbery. [Id.]. O’Leary claimed that Petitioner

was the “brains” behind the robberies and provided Copeland with the gun.

[Id.]. When Petitioner was interviewed shortly after his arrest by the Forest

City Police, he said he had no knowledge of the robbery. [Id.]. Rather, he

claimed that Copeland had called him on April 6, 2008, and asked him to

give Copeland and O’Leary a ride to Shelby, North Carolina, to get some

“weed,” which Petitioner said he agreed to do in exchange for some of the

“weed” and $140, and he claimed that he had dropped Copeland and

O’Leary off at a restaurant in Shelby on the morning of April 7 and had

waited for two hours for their return, after which he drove them back. [Id.].

      B.    Procedural History

      On August 5, 2008, the Grand Jury for the Western District of North

Carolina charged Petitioner Vincent Lamar Boulware, Larry Michael

Copeland, and Donald Gerard O’Leary with bank robbery, in violation of 18


                                      4

  Case 1:08-cr-00082-MR-WCM     Document 134    Filed 02/03/14   Page 4 of 36
U.S.C. § 2113(a), putting the life of another person in jeopardy during a

bank robbery, in violation of 18 U.S.C. § 2113(d), and using a firearm

during and in relation to a crime of violence, in violation of 18 U.S.C. §

924(c)(1)(A)(ii).   [Criminal Case No. 1:08-cr-00082-MR-DLH, Doc. 1:

Indictment]. Petitioner was also charged in the District of South Carolina

and the Middle District of North Carolina for the bank robberies in those

districts, and those cases were transferred to this district pursuant to

Federal Rule of Criminal Procedure 20.          The June 11, 2009, criminal

information from the District of South Carolina charged Petitioner,

Copeland, and O’Leary with bank robbery. [Criminal Case No. 1:09-cr-

00058-MR-DLH, Doc. 1]. That case was transferred to this District on June

11, 2009. The June 30, 2008, indictment from the Middle District of North

Carolina charged Petitioner, Copeland, and Altoe Lahmond Wallace with

bank robbery and using a firearm during and in relation to a crime of

violence. [Criminal Case No. 1:09-cr-00055-MR-DLH, Doc. 2]. That case

was transferred to this District on May 27, 2009.

        Petitioner was arraigned on the indictment in this Court on August 18,

2008.      [Criminal Case No. 1:08-cr-00082-MR-DLH, Docket Entry for

8/18/2008]. On August 28, 2008, Petitioner’s counsel, Victoria Jayne, filed

an ex parte motion for an independent psychological evaluation or, in the


                                       5

   Case 1:08-cr-00082-MR-WCM     Document 134    Filed 02/03/14   Page 5 of 36
alternative, for an examination by Government mental health experts. See

[Id., Doc. 11: Ex Parte Motion for Psychological Evaluation; Doc. 117:

Motion Hearing Tr.]. In her motion, Ms. Jayne cited, among other things,

her observations that Petitioner could not read a complete sentence, that

he reported that he had been in foster care for several years because he

would not go to school, that he had been bullied by others, including co-

defendant Copeland, and that he exhibited great distress, depression, and

confusion about the statements he had made and the charges against him.

[Id.].

         On September 3, 2008, Magistrate Judge Howell conducted a

hearing on that motion, at the beginning of which the Court and Ms. Jayne

discussed her having filed her motion ex parte, with Ms. Jayne saying that

she had done so because she had previously been advised by Judge

Voorhees that this was the appropriate procedure and that it was not

necessary for her to notice the Government. [Id., Doc. 117 at 2]. She

asked the Court to consider conducting the hearing ex parte as well, but

the Court replied that the Government needed to know about a motion for a

psychological evaluation.   [Id.].   Ms. Jayne replied that of course the

Government would learn if the motion were granted and an evaluation

occurred, but she repeated that she thought the request for such an


                                      6

   Case 1:08-cr-00082-MR-WCM    Document 134   Filed 02/03/14   Page 6 of 36
examination was to be filed ex parte. [Id. at 3]. The Court responded that

in regards to a motion for a mental health evaluation, the Government

“need[ed] to be aware of that because you’ve also got a Rule 12 situation.

They’ve got a right to know about it.” [Id.].

       After Ms. Jayne provided a copy of her motion to the prosecutor in

court, she argued for her motion and provided additional observations of

Petitioner’s apparent mental state. [Id. at 4-7]. The Government did not

object to having Petitioner evaluated, but stated that the Court should order

that it be done within the Bureau of Prisons system rather than by a private

psychologist. [Id. at 9]. The Court denied without prejudice that portion of

the motion seeking an evaluation by private physician Dr. John Warren

and, instead, ruled that Petitioner would be evaluated at a facility to be

determined by the Department of Justice. [Id. at 9-10]. The Court stated

that, after the examination through the government, the Court would

entertain another motion by Ms. Jayne for a private examination. [Id. at

10].

       On September 5, 2008, the Court memorialized its ruling, ordering

Petitioner to be committed to the custody of the Attorney General and

examined pursuant to 18 U.S.C. §§ 4241 and 4242, and Federal Rule of

Criminal Procedure 12.2(c) to determine if he was currently insane or so


                                       7

  Case 1:08-cr-00082-MR-WCM      Document 134   Filed 02/03/14   Page 7 of 36
mentally incompetent as to be unable to understand the proceedings

against him or to assist in his defense, and to determine whether he was

criminally responsible at the time of the commission of the alleged offense.

[Id., Doc. 14: Order Granting Ex Parte Motion as to Vincent Lamar

Boulware]. The Order also instructed Petitioner’s counsel that, in the event

the Government’s experts determined that Petitioner was competent, she

could file a motion for appointment and examination by independent

experts. [Id. at 4-5].

      On January 5, 2009, a report was filed concluding that there was no

objective evidence indicating that Petitioner was suffering from any major

mental disorder or condition that would impair his ability to understand the

nature and consequences of the court proceedings against him or his

ability to assist counsel in his defense, nor was there evidence that

Petitioner suffered from a condition that rendered him unable to appreciate

the nature, quality, or wrongfulness of his actions during the time period of

the alleged offense. [Id., Doc. 45: Psychiatric Report]. Although the report

stated that Petitioner’s test scores indicated that he was in the extremely

low range of intellectual functioning, with a verbal reasoning ability in the

borderline range and a nonverbal reasoning ability in the extremely low

range, the report also noted that Petitioner’s scores were lowered by his


                                     8

  Case 1:08-cr-00082-MR-WCM     Document 134   Filed 02/03/14   Page 8 of 36
not earning full credit for his answers due to his failing to finish his

responses within the allotted time.       [Id. at 10].   The report stated that

Petitioner’s manner indicated that if given more time or prompted he would

be able to respond with the correct answer. [Id. at 14].

      The report concluded that this suggested that Petitioner functioned at

a higher level than indicated by his test scores. [Id. at 10]. In a test for

mental retardation, Petitioner performed tasks in the high or moderate

range except for those dealing with memory/orientation and managing

home and transportation, for which he was in the low range. [Id. at 11].

The report rejected a diagnosis of mild mental retardation in light of his test

scores and the reported level of his functioning, including his ability to

obtain and maintain a driver’s license, a flea market vendor’s license, his

ability to enroll in GED classes at a community college, and his ability to

commit prior bank frauds through issuing and cashing forged checks. [Id.

at 14-15]. Regarding his understanding of the criminal proceedings, on one

test Petitioner scored higher than the mean score for criminal defendants

without mental retardation, with an overall score of 93% correct, and in

other tests he scored 96%, 87%, and 95% correct. [Id. at 15]. The report

also observed that during his monitored telephone conversations with his

mother and others, Petitioner was clear, coherent, and goal-directed,


                                      9

  Case 1:08-cr-00082-MR-WCM      Document 134     Filed 02/03/14   Page 9 of 36
without delay, had adequate recall of events, fluid speech and articulation,

and seemed focused and able to track the content of other people’s

conversations.    [Id. at 8].   The people who interacted with him did not

respond as though he had any significant deficits. [Id.].

       As for Petitioner’s criminal responsibility at the time of the offense, the

report concluded that his behavior was not the product of a severe mental

disorder. [Id. at 17]. The report stated that he was guarded and evasive

when discussing the events and “seemed to take every opportunity to

minimize his behavior” and to try to paint himself in a good light. [Id.]. The

report also stated that he had the ability to appreciate the nature, quality,

and wrongfulness of his actions and he was not significantly impaired by

any underlying severe mental disorder at the time of the offense. [Id. at

18].

       On February 6, 2009, Petitioner’s counsel filed a sealed ex parte

motion for an independent mental health evaluation, which the Court

granted on February 18, 2009, authorizing an expenditure of $1,500. See

[Id., Doc. 49: Order]. The report, filed with the Court on March 26, 2009,

and submitted by private psychologist Dr. Warren, concluded that Petitioner

met the criteria for a diagnosis of mild mental retardation, and that he had

that condition at the time of the alleged offense. [Id., Doc. 55: Report]. As


                                        10

  Case 1:08-cr-00082-MR-WCM       Document 134    Filed 02/03/14   Page 10 of 36
a result, the report opined that Petitioner was “particularly susceptible to

manipulation and being taken advantage of by others.” [Id. at 1]. Despite

this condition, however, the report stated that Petitioner had “a basic

understanding of his legal situation and [could] assist his attorney in a

rational, albeit simplistic, manner.” [Id.].

      The reports from Petitioner’s mental evaluation were admitted at a

competency hearing on April 28, 2009, and Judge Howell found that

Petitioner was not suffering from any mental disease or defect and that he

was able to assist his counsel.           [Id., Doc. 118 at 4: Transcript of

Competency Hearing].

      On April 30, 2009, the parties filed a written plea agreement in which

Petitioner agreed to plead guilty to the bank robbery charge in the Western

District’s indictment, and also agreed to the Rule 20 transfers of the

indictment from the Middle District of North Carolina and the criminal

information from the District of South Carolina for purposes of his pleading

guilty to those charges as well. [Id., Doc. 63: Plea Agreement]. On May 6,

2009, Defendant pled to the bank robbery count in the Western District’s

indictment; on June 11, 2009, he pled to bank robbery from the Middle

District; and on July 9, 2009, he pled to the bank robbery from the District

of South Carolina.     [Id., Doc. 119; Criminal Case No. 1:09-cr-00055-MR-


                                        11

  Case 1:08-cr-00082-MR-WCM       Document 134   Filed 02/03/14   Page 11 of 36
DLH, Doc. 32; Criminal Case No. 1:09-cr-00058-MR-DLH, Doc. 44].

During each of these hearings, the Court informed Petitioner of the

maximum punishment for the offense to which he was pleading guilty. See

[Criminal Case No. 1:08-cr-00082-MR-DLH, Doc. 119 at 8-9 (20 years);

Criminal Case No. 1:09-cr-00055-MR-DLH, Doc. 32 at 14 (10 years);

Criminal Case No. 1:09-cr-00058-MR-DLH, Doc. 44 at 9 (20 years)]. The

written agreements in each case contained a provision that the Court would

determine the appropriate sentence, and that “any estimate from any

source, including defense counsel, of the likely sentence is a prediction

rather than a promise, and that the Court has the final discretion to impose

any sentence up to the statutory maximum for each count.” [Id., Doc. 63 at

¶ 8; Criminal Case No.1:09-cr-00055-MR-DLH, Doc. 14 at ¶ 8; Criminal

Case No. 1:09-cr-00058-MR-DLH, Doc. 2 at ¶ 8].

       During each hearing, Petitioner acknowledged that he understood

that he might receive a sentence that was higher or lower than the

guidelines, and that if his sentence were higher than he expected he would

still be bound by his guilty plea. See [Criminal Case No. 1:08-cr-00082-

MR-DLH, Doc. 119 at 11-12; Criminal Case No. 1:09-cr-00055-MR-DLH,

Doc. 32 at 17; Criminal Case No. 1:09-cr-00058-MR-DLH, Doc. 44 at 19-

20].   Additionally, during each of the three hearings, the prosecutor


                                    12

  Case 1:08-cr-00082-MR-WCM    Document 134   Filed 02/03/14   Page 12 of 36
summarized the major terms of the plea agreement and specifically

highlighted the provision regarding Petitioner’s waiver of his appellate rights

and the right to collaterally challenge his judgment or sentence.           See

[Criminal Case No. 1:08-cr-00082-MR-DLH, Doc. 119 at 15-16; Criminal

Case No. 1:09-cr-00055-MR-DLH, Doc. 32 at 21; Criminal Case No. 1:09-

cr-00058-MR-DLH, Doc 44 at 24]. In response to questioning by the Court

on this point, Petitioner three times stated that he understood his appellate

rights and collateral attack rights and that he knowingly and willingly

accepted the limitations on those rights set forth in the agreement.

[Criminal Case No. 1:08-cr-00082-MR-DLH, Doc. 119 at 17; Criminal Case

No. 1:09-cr-00055-MR-DLH, Doc. 32 at 22; Criminal Case No. 1:09-cr-

00058-MR-DLH, Doc. 44 at 25].

      A presentence investigation report (“PSR”) was filed in this Court on

February 9, 2010. [Criminal Case No. 1:08-cr-82-MR-1, Doc. 70: PSR].

During his interview with the probation officer who prepared the PSR, and

in the presence of his counsel, Petitioner admitted that he had been

involved in all three robberies, and he said that his co-defendants had

asked him to pick them up after the robberies, and that they gave him

money and some marijuana. [Id. at 13].




                                      13

  Case 1:08-cr-00082-MR-WCM     Document 134    Filed 02/03/14   Page 13 of 36
      The PSR calculated the adjusted offense level for the Western

District robbery as level 33, which included upward adjustments for the

robbery of a financial institution, the use of a firearm, the bodily injury and

physical restraint of a victim, and a loss of more than $10,000. [Id., Doc. 91

at 14]. Both the Middle District of North Carolina and the District of South

Carolina convictions received adjusted offense levels of 29, which included

enhancements for the robbery of a financial institution, the use of a firearm,

and a loss of over $10,000. [Id. at 15-16]. Applying the multiple-count

adjustment rules of U.S.S.G. § 3D1.4, the combined offense level was 36,

with a reduction for acceptance of responsibility yielding a total offense

level of 33. [Id. at 16]. Combined with Petitioner’s criminal history category

of IV, the advisory guidelines range was 188 to 235 months of

imprisonment. [Id. at 34].

      On March 30, 2010, Petitioner filed objections to the PSR’s offense

level computation, including the enhancements for the use of a firearm and

the bodily injury and victim restraint enhancements, contending that

Petitioner was an accessory after the fact to the bank robberies, playing no

part in the planning nor in transporting the codefendants to the banks, but

that he had merely driven them afterwards.         [Id., Doc. 88 at 1].     The

defense also objected to the criminal history calculation, stating that


                                      14

  Case 1:08-cr-00082-MR-WCM     Document 134    Filed 02/03/14   Page 14 of 36
Petitioner had no memory of one conviction, that he denied he was the

defendant in another, and that the charge had been dismissed in a third

matter. [Id. at 2].

      The final PSR was filed on April 8, 2010. [Id., Doc. 91: Final PSR;

Doc. 93: Sealed Sentencing Memorandum]. The probation office rejected

Petitioner’s objections and recommended no change to the PSR. [Id., Doc.

91 at 38-39].     Additionally, the probation office noted that, in light of

Petitioner’s contentions minimizing his role and knowledge of the crimes, it

was questionable whether he should continue to receive the three-level

reduction for acceptance of responsibility. [Id. at 38].

      On June 28, 2010, Petitioner filed a motion for a downward

departure, citing the experts’ opinions that he had a low range of

intellectual functioning and Dr. Warren’s conclusion that he was extremely

vulnerable to the influence and bullying of others. [Id., Doc. 93: Motion for

Downward Departure].        The defense argued that but for Petitioner’s

“diminished capacity,” he would have escaped involvement in these

robberies. [Id. at 1]. The motion conceded that Petitioner had the capacity

to understand the wrongfulness of his actions but requested that the Court

provide “greater consideration” for Petitioner’s mental condition by

departing downward. [Id. at 2]. The motion also informed the Court of


                                      15

  Case 1:08-cr-00082-MR-WCM     Document 134     Filed 02/03/14   Page 15 of 36
counsel’s continued concerns about the apparent deterioration of

Petitioner’s understanding of his situation, and her most recent request for

another mental examination. [Id.].

     On July 2, 2010, in response to Petitioner’s objections to the PSR

and to the motion for a downward departure, the Government filed a

sentencing memorandum, contrasting Petitioner’s claim that he was a mere

accessory after the fact with the evidence about the three bank robberies,

including admissions made by Petitioner to the FBI. See [Id., Doc. 95:

Gov’t Sentencing Memo.].      The Government agreed with the probation

officer’s statement that Petitioner might not deserve the reduction for

acceptance of responsibility, and also submitted that the Court should

consider a two-level increase for obstruction of justice, as provided by

U.S.S.G. § 3C1.1 cmt. 4(h), for providing materially false information to a

probation officer in respect to a presentence investigation. [Id. at 11]. The

Government’s memorandum also opposed Petitioner’s motion for a

downward departure. [Id. at 11-12]. Applying the findings of the mental

health reports, the memorandum noted that the Government’s experts had

rejected a diagnosis of mild mental retardation, and that Dr. Warren’s

diagnosis was based on much more limited information. [Id. at 13]. The

Government argued that, even under Dr. Warren’s conclusions, Petitioner


                                     16

  Case 1:08-cr-00082-MR-WCM    Document 134    Filed 02/03/14   Page 16 of 36
still could appreciate the wrongfulness of his actions, as evidenced by

Petitioner’s own statements to law enforcement agents. [Id. at 14-15].

     On March 10, 2010, after the initial PSR had been filed, defense

counsel filed, under seal, a third motion for a psychiatric or psychological

examination or a competency determination, in which she stated that

Petitioner’s mental health was declining and that she was aware of co-

defendant Copeland’s continued influence on Petitioner’s actions, such that

she feared that Petitioner’s guilty pleas “may have been less than

voluntary” and may have been the result of his efforts to please those

around him. [Criminal Case No. 1:08-cr-82-MR-1, Doc. 79 at 1: Motion for

Psychiatric or Psychological Examination]. She also stated that she had

difficulty in discussing the PSR and the sentencing guidelines with

Petitioner, and that he appeared to be confused and distraught and was

having memory problems. [Id. at 2].

     Magistrate Judge Howell conducted a hearing on this motion on

March 22, 2010. [Id., Doc. 124: Motion for Competency Evaluation Tr.].

defense counsel cited the first competency report’s findings that Petitioner

functioned in an extremely low range of intelligence, and Dr. Warren’s

statement that Petitioner was “easily manipulated and could be easily led

by those around him.” [Id. at 2-3]. She told the Court that she had filed her


                                      17

  Case 1:08-cr-00082-MR-WCM    Document 134    Filed 02/03/14   Page 17 of 36
motion for another competency examination because she had observed “a

marked deterioration in [Petitioner’s] ability to communicate with [her,] [and]

in his memory. [Id. at 4]. She also expressed her concern that some of

Petitioner’s actions, including his entries of the three guilty pleas, “may

have been more about pleasing [her] or . . . his codefendants and the

court,” rather than being voluntary. [Id. at 4-5]. She said that she believed

it was incumbent upon her to seek another competency evaluation so that

she could determine whether she could advise the judge at sentencing that

her client understood everything he was doing.         [Id. at 6].    She also

expressed her concern about ongoing communication with co-defendant

Copeland and his possible influence. [Id. at 6-8].

      The Court replied that the conclusion of the reports was that

Petitioner was competent but that everyone should go slowly so that

Petitioner could understand everything. [Id. at 8]. Ms. Jayne responded

that she was concerned that more than a year had passed since the earlier

evaluations, and that some new sort of mental illness may have started that

possibly could be corrected through medication. [Id. at 9; 11]. She said

that she believed that Petitioner understood what he was doing when he

entered his guilty pleas, or at least it seemed that he did, but that she was

concerned with what had happened since those plea hearings, based on


                                      18

  Case 1:08-cr-00082-MR-WCM     Document 134    Filed 02/03/14   Page 18 of 36
her difficulty communicating with Petitioner and his apparent memory

problems. [Id. at 12].

        On March 25, 2010, the Court issued a written order denying the

motion.     See [Id., Doc. 86: Order].     The Court observed that the first

forensic report had already addressed the same issue that Ms. Jayne was

raising anew, Petitioner’s possible susceptibility to manipulation by others.

[Id. at 2-3]. As to counsel’s stated concern that Petitioner’s intelligence

level might have affected the knowing and voluntary nature of his guilty

plea, the Court quoted from the portion of the earlier report concluding that

Petitioner had scored higher than the mean score for those defendants

without any mental retardation, with an overall correct score of 93%, and

scores of 96%, 87%, and 95% on other tests concerning legal concepts,

skills needed to assist counsel, and understanding of case events. [Id. at

3-4].    The Court concluded that, notwithstanding his low intelligence,

Petitioner was capable of functioning at or above the mean level of criminal

defendants. [Id. at 4]. The Court also reviewed the electronic transcripts

and its own notes from the Rule 11 hearings, finding no indication that

Petitioner’s pleas had been anything less than knowing and voluntary. [Id.].

        At the sentencing hearing held on July 8, 2010, the Court questioned

Petitioner to determine that he remembered his answers at the three Rule


                                      19

  Case 1:08-cr-00082-MR-WCM     Document 134    Filed 02/03/14   Page 19 of 36
11 hearings, that his answers were true and correct, and that Petitioner

was pleading guilty voluntarily, and the Court then accepted Petitioner’s

guilty pleas. See [Id., Doc. 120 at 5-7: Sentencing Hearing Tr.]. Petitioner

told the Court that he had reviewed the PSR with his attorney and he

understood its contents, and Ms. Jayne confirmed that she was satisfied

that Petitioner understood the PSR. [Id. at 8].

      Turning to Petitioner’s objections to the offense level enhancements,

Ms. Jayne told the Court that based on further information from the

probation officer and additional conversations with the Government, as well

as speaking with Petitioner, she was withdrawing those objections. [Id. at

9; 10-11]. Ms. Jayne spoke of Petitioner’s mental abilities and his difficulty

in understanding why he would receive enhancements for the use of the

firearm and other matters occurring inside the banks when he had only

been the getaway driver, but said that he wanted the Court to be sure to

know that he was accepting responsibility for his involvement in the bank

robberies. [Id. at 10]. The Government then withdrew its request that

Petitioner not receive the full reduction for acceptance of responsibility. [Id.

at 12].   Accordingly, the Court accepted the PSR’s calculation of the

advisory range of 188 to 235 months. [Id. at 12-13].




                                      20

  Case 1:08-cr-00082-MR-WCM     Document 134      Filed 02/03/14   Page 20 of 36
      During her argument, Ms. Jayne highlighted Dr. Warren’s conclusion

as to Petitioner’s low intellectual functioning and susceptibility to

manipulation by others as relevant factors for the court to consider, but she

also stated that she was not arguing that Petitioner was not competent. [Id.

at 15]. Petitioner also addressed the Court at some length, in a rational

and coherent fashion. [Id. at 22-25]. In determining its sentence, the Court

noted that it had considered the mental evaluations, but concluded that

they did not take Petitioner’s case out of the heartland, and did not warrant

a sentence outside the guidelines range.        [Id. at 27].     The Court did

conclude, however, that Petitioner’s mental condition warranted a sentence

at the low end of that range, at 188 months, and imposed that sentence for

each of the three bank robberies, all concurrent with one another. [Id. at

27; 28].

      On appeal, Petitioner challenged his sentence, but the Fourth Circuit

held that he had knowingly and voluntarily waived the right to appeal his

sentence. [Id., Doc. 125 at 3]. Petitioner also raised essentially the same

ineffective assistance of counsel arguments as he now makes in his instant

motion, and the Court concluded that there was no conclusive evidence of

ineffectiveness on the face of the record, and declined to address the

merits of that argument. [Id. at 4].


                                       21

  Case 1:08-cr-00082-MR-WCM      Document 134   Filed 02/03/14   Page 21 of 36
       Petitioner filed the instant, timely motion to vacate on April 9, 2012,

placing the motion to vacate in the prison system for mailing on March 29,

2012. [Doc. 1]. On June 25, 2012, the Government filed a motion for

summary judgment. [Doc. 12]. On August 15, 2012, this Court entered an

Order pursuant to Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975),

advising Petitioner of his obligation to file a response to the Motion for

Summary Judgment, and explaining the requirement that he present his

own evidence by affidavit or unsworn declarations.                     [Doc. 13].    On

September 18. 2012, Petitioner filed a Response to the motion for

summary judgment. [Doc. 14]. Petitioner did not present any evidence in

response to the summary judgment motion in the form of new affidavits1 or

exhibits. He merely reiterated the arguments made in his initial motion to

vacate, and he specifically incorporated the memorandum and his affidavit

that were filed with the original motion to vacate. [Doc. 14 at 8].

       Finally, on that same date Petitioner filed a Motion Requesting Leave

to Conduct Discovery [Doc. 16]; a Motion to Expand the Record, [Doc. 18];

and a Motion Requesting Psychological Expert to Establish Matter for the

Defense Pursuant to 18 U.S.C. § 3006A [Doc. 19]. Petitioner brings the


1
 Petitioner filed a document entitled “Supplementary Affidavit” [Doc. 15] which consists
of three short bullet points that are more in the nature of argument. That document,
however, is not sworn or signed under penalty of perjury.
                                           22

    Case 1:08-cr-00082-MR-WCM       Document 134      Filed 02/03/14     Page 22 of 36
following grounds for relief in his motion to vacate: (1) Petitioner’s plea was

not knowing because he was sedated and he is mildly retarded; (2)

Petitioner did not receive effective assistance of counsel with respect to his

defense pursuant to 18 U.S.C. § 3006A(e); (3) bad faith and unfair dealing

with respect to the plea agreement denied Petitioner due process and is

manifestly unfair; (4) Petitioner received ineffective assistance of counsel

because counsel grossly underestimated sentencing factors; (5) and

Petitioner received ineffective assistance of counsel because counsel failed

to procure a 18 U.S.C. § 3006A(e) psychological expert, and failed to move

for a U.S.S.G. § 5K2.13 downward departure with that expert’s help.

II.      STANDARD OF REVIEW

         Rule 56(a) of the Federal Rules of Civil Procedure provides:

               A party may move for summary judgment,
               identifying each claim or defense — or the part of
               each claim or defense — on which summary
               judgment is sought. The court shall grant summary
               judgment if the movant shows that there is no
               genuine dispute as to any material fact and the
               movant is entitled to judgment as a matter of law.
               The court should state on the record the reasons for
               granting or denying the motion.

Fed. R. Civ. P. 56(a).          The rule goes on to provide procedures for

responding to a motion for summary judgment:

               c) Procedures.


                                        23

      Case 1:08-cr-00082-MR-WCM    Document 134   Filed 02/03/14   Page 23 of 36
            (1) Supporting Factual Positions. A party asserting
            that a fact cannot be or is genuinely disputed must
            support the assertion by:

            (A) citing to particular parts of materials in the
            record,     including    depositions,     documents,
            electronically stored information, affidavits or
            declarations, stipulations (including those made for
            purposes of the motion only), admissions,
            interrogatory answers, or other materials; or

            (B) showing that the materials cited do not establish
            the absence or presence of a genuine dispute, or
            that an adverse party cannot produce admissible
            evidence to support the fact.

            (2) Objection That a Fact Is Not Supported by
            Admissible Evidence. A party may object that the
            material cited to support or dispute a fact cannot be
            presented in a form that would be admissible in
            evidence.

            (3) Materials Not Cited. The court need consider
            only the cited materials, but it may consider other
            materials in the record.

            (4) Affidavits or Declarations. An affidavit or
            declaration used to support or oppose a motion
            must be made on personal knowledge, set out facts
            that would be admissible in evidence, and show that
            the affiant or declarant is competent to testify on the
            matters stated.

Fed. R. Civ. P. 56(c).

      On a motion for summary judgment, the moving party has the burden

of production to show that there are no genuine issues of fact for trial.



                                      24

  Case 1:08-cr-00082-MR-WCM     Document 134    Filed 02/03/14   Page 24 of 36
Once the moving party has met that burden, the non-moving party has the

burden of persuasion to establish that there is a genuine issue for trial.

             When the moving party has carried its burden under
             Rule 56(c), its opponent must do more than simply
             show that there is some metaphysical doubt as to
             the material facts. Rather, the nonmoving party
             must come forward with “specific facts showing that
             there is a genuine issue for trial.” Where the record
             taken as a whole could not lead a rational trier of
             fact to find for the nonmoving party, there is no
             “genuine issue for trial.”

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87

(1986) (citations omitted; emphasis in the original) (quoting Fed. R. Civ. P.

56).

III.   DISCUSSION

       A.    Petitioner’s Grounds One and Three

       In Ground One of his motion, Petitioner argues that his guilty pleas

were not made knowingly and voluntarily because he is mildly retarded and

did not understand the plea colloquy, and because he was medicated.2 In

Ground Three, he again asserts that he is mentally retarded, and argues

that it is an abuse of the plea process to allow a mentally retarded person

to sign a waiver of appellate rights. Petitioner did not raise these claims on

2
  Petitioner’s motion speaks in the singular of his guilty plea but, as previously
recounted, he actually pled guilty three different times, in three different Rule 11
hearings.

                                        25

    Case 1:08-cr-00082-MR-WCM     Document 134     Filed 02/03/14   Page 25 of 36
direct appeal. Petitioner may not use Section 2255 as a substitute for an

appeal. See United States v. Frady, 456 U.S. 152, 165-66 (1982); see also

Bousley v. United States, 523 U.S. 614, 621 (1998) (“Habeas review is an

extraordinary remedy and ‘will not be allowed to do service for an appeal.’”)

(quoting Reed v. Farley, 512 U.S. 339, 354 (1994)). Accordingly, there is a

presumption that “[o]nce the defendant’s chance to appeal has been

waived or exhausted, . . . he stands fairly and finally convicted.” Frady, 456

U.S. at 164. Further, as stated by the Fourth Circuit in United States v.

Mikalajunas, 186 F.3d 490, 492-93 (4th Cir. 1999), “[i]n order to collaterally

attack a conviction or sentence based upon errors that could have been but

were not pursued on direct appeal, the movant must show cause and

actual prejudice resulting from the errors of which he complains or he must

demonstrate that a miscarriage of justice would result from the refusal of

the court to entertain the collateral attack.” Id. (citing Frady, 456 U.S. at

167-68).

      Petitioner did not raise his contentions on direct appeal. Thus, unless

Petitioner can show cause and prejudice, his failure to raise these issues

on appeal bars any review pursuant to 28 U.S.C. § 2255. As the Supreme

Court has made clear, a defendant seeking collateral relief based on errors

not raised at trial or on appeal must show “cause” excusing his procedural


                                     26

  Case 1:08-cr-00082-MR-WCM     Document 134   Filed 02/03/14   Page 26 of 36
default and “actual prejudice” resulting from the alleged errors. Frady, 456

U.S. at 167-68; see also United States v. Maybeck, 23 F.3d 888, 891 (4th

Cir. 1994) (stating that the failure to make a contemporaneous objection at

trial requires the establishment of cause and prejudice in a Section 2255

proceeding).

     Here, Petitioner does not even address these factors. He does not

attempt to explain his failure to raise these issues on direct appeal, nor

does he offer evidence to establish “cause and actual prejudice” or that he

is innocent of the charges.    He simply requests that his sentence and

conviction be set aside and/or vacated based on the allegations in his §

2255 motion. Because Petitioner has presented no forecast of evidence as

to cause or prejudice with respect to his failure to raise the claim in

Grounds One and Three, those claims are not cognizable under 28 U.S.C.

§ 2255.

     B.    Grounds Two, Four and Five

     In the remaining grounds of his motion, Petitioner alleges that his

counsel was ineffective for failing to obtain an independent privileged

expert evaluation in order to mount a defense and to obtain a downward

departure for diminished capacity, and for “grossly” underestimating the

sentence he would receive. The Sixth Amendment to the U.S. Constitution


                                    27

  Case 1:08-cr-00082-MR-WCM    Document 134   Filed 02/03/14   Page 27 of 36
guarantees that in all criminal prosecutions, the accused has the right to

the assistance of counsel for his defense. See U.S. CONST. amend. VI.

To show ineffective assistance of counsel, Petitioner must first establish a

deficient performance by counsel and, second, that the deficient

performance prejudiced him. See Strickland v. Washington, 466 U.S. 668,

687-88 (1984).       In making this determination, there is “a strong

presumption that counsel’s conduct falls within the wide range of

reasonable professional assistance.” Id. at 689; see also United States v.

Luck, 611 F.3d 183, 186 (4th Cir. 2010).

      Furthermore, in considering the prejudice prong of the analysis, the

Court “can only grant relief under . . . Strickland if the ‘result of the

proceeding was fundamentally unfair or unreliable.’” Sexton v. French, 163

F.3d 874, 882 (4th Cir. 1998) (quoting Lockhart v. Fretwell, 506 U.S. 364,

369 (1993)). Under these circumstances, the petitioner “bears the burden

of affirmatively proving prejudice.” Bowie v. Branker, 512 F.3d 112, 120

(4th Cir. 2008). If the petitioner fails to meet this burden, a “reviewing court

need not even consider the performance prong.” United States v. Rhynes,

196 F.3d 207, 232 (4th Cir. 1999), opinion vacated on other grounds, 218

F.3d 310 (4th Cir. 2000).




                                      28

  Case 1:08-cr-00082-MR-WCM     Document 134     Filed 02/03/14   Page 28 of 36
      Finally, to demonstrate prejudice in the context of a guilty plea, a

petitioner must show “a reasonable probability that, but for counsel’s errors,

he would not have pleaded guilty and would have insisted on going to trial.”

Hill v. Lockhart, 474 U.S. 52, 59 (1985).       In evaluating such a claim,

statements made by a defendant under oath at the plea hearing carry a

“strong presumption of verity” and present a “formidable barrier” to

subsequent collateral attacks. Blackledge v. Allison, 431 U.S. 63, 73-74

(1977). Indeed, “in the absence of extraordinary circumstances, the truth of

sworn statements made during a Rule 11 colloquy is conclusively

established, and a district court should . . . dismiss any § 2255 motion that

necessarily relies on allegations that contradict the sworn statements.”

Lemaster, 403 F.3d at 221-22.

            1.    The Mental Examinations

      In Ground Two, Petitioner alleges ineffective assistance of counsel

based on Ms. Jayne’s supposed failure to advocate for a privileged

investigation into his mental state and into whether he was excessively

submissive or compliant with demands by his co-defendant. He contends

that Ms. Jayne was constitutionally ineffective for failing to seek to retain a

private mental health expert, with the use of Criminal Justice Act (CJA)

funds pursuant to 18 U.S.C. § 3006A, so that the Government would not


                                      29

  Case 1:08-cr-00082-MR-WCM     Document 134    Filed 02/03/14   Page 29 of 36
have been aware of the examination and its results.             As the record

demonstrates, however, Ms. Jayne did seek such an examination. Indeed,

as the Court has already discussed, supra, she sought it twice. In her

original motion on this matter, filed ex parte, she did precisely what

Petitioner now claims she neglected to do. That is, she moved for CJA

funds to retain a private mental health expert, and only referenced 18

U.S.C. §§ 4241 and 4242 as an alternative basis for the examination

should the Court deny her motion to retain a private expert. After the Court

denied her motion for a private examination and ordered an examination by

Government experts, and after those experts’ report was filed, she moved a

second time for authorization to hire a private expert, which the Court

granted.   This chronology is further detailed in Ms. Jayne’s affidavit, in

which she states that twelve days after her appointment she first filed an ex

parte motion requesting up to $5,000 to retain the services of an expert to

conduct a forensic psychological evaluation of Petitioner. [Doc. 11-1 at ¶ 2:

Gov’t’s Ex. 1]. She also requested funds to retain a private investigator to

evaluate the evidence and to locate and interview possible defense

witnesses. [Id. at ¶ 3]. Magistrate Judge Howell allowed both motions, but

limited the funds for the mental exam to $1,500, and over her objection he

informed the Government of her motion and requested an evaluation by the


                                     30

  Case 1:08-cr-00082-MR-WCM    Document 134    Filed 02/03/14   Page 30 of 36
Bureau of Prisons prior to the examination by the expert she was hiring.

[Id. at ¶ 4]. Ms. Jayne notes that all the doctors who evaluated Petitioner

found him to be competent at the time of the offenses and competent to

stand trial. [Id. at ¶ 6].

      Raising a similar argument as in Ground Two, Petitioner complains in

Ground Five that Ms. Jayne was not effective “when she failed to have

completed an 18 U.S.C. § 3006A exam,” thereby harming his evaluation for

a diminished capacity departure.      The record contradicts Petitioner’s

allegation, however, because Ms. Jayne not only made those earlier

efforts, but she made yet a third attempt, in her March 10, 2010, motion, to

have the Court provide for such an examination. The Court, following a

hearing on this motion, denied her request. Ms. Jayne also moved on

Petitioner’s behalf for a downward departure based on Petitioner’s mental

state, making use of the experts’ reports, and argued for such a departure

at sentencing. The Court found that Petitioner’s mental condition did not

warrant such a departure, but it did find that his condition merited a

sentence at the low end of the guideline range.

      Petitioner has simply presented no forecast of evidence to support his

argument of ineffective assistance of counsel, given that Ms. Jayne

repeatedly sought a “privileged investigation” of his mental condition. The


                                     31

  Case 1:08-cr-00082-MR-WCM    Document 134   Filed 02/03/14   Page 31 of 36
gist of Petitioner’s complaint is that Ms. Jayne was unsuccessful in her

diligent and repeated efforts to obtain § 3006A funds to obtain an opinion

by a defense expert that could remain secret from the Government.

Indeed, Ms. Jayne did all she could to try to convince the Court to order

such an examination, and she was not ineffective merely because the

Court denied her request. At bottom, Petitioner is trying to use a § 2255

motion to mount an attack on this Court’s prior decisions regarding Ms.

Jayne’s motions. Petitioner, however, did not raise this on appeal, and

therefore is prohibited from raising it in this context.

            2.     Promises of a Likely Sentence

      In Ground Four, Petitioner argues that Ms. Jayne was ineffective

based on his allegation that she erroneously estimated that his sentencing

range would be 57-71 months, while the actual sentencing range turned out

to be 188-235. He argues that his guilty plea was “tainted by [counsel’s]

gross underestimation of [Petitioner’s] eventual sentence,” and that he

would have argued for a lesser sentence or insisted on trial if he had not

been so mis-advised. [Doc. 1-1 at 25]. Where, as here, a Petitioner has

pled guilty, he must show that but for counsel’s unprofessional errors, he

would have gone to trial instead of pleading guilty. Hill v. Lockhart, 474

U.S. 52, 59 (1985).


                                        32

  Case 1:08-cr-00082-MR-WCM       Document 134    Filed 02/03/14   Page 32 of 36
     Petitioner’s claim fails, first, because the transcripts of the three Rule

11 colloquies make clear that he was advised of the two, twenty-year and

one, ten-year maximum sentences that he faced for the charged offenses.

Three separate times, Petitioner acknowledged under oath that he

understood these maximum possible sentences.               The sentence he

received was well below that maximum.          Second, in each of his plea

agreements, Petitioner acknowledged that any estimates about his

potential sentences, including any made by his own counsel, were just that

– estimates – and not promises.           Finally, as the Fourth Circuit has

recognized, even if a defendant is misadvised by his trial counsel, he

cannot show prejudice as long as the misinformation he received was

corrected by the district court. See United States v. Foster, 68 F.3d 86, 88

(4th Cir. 1995) (recognizing that “any misinformation [defendant] may have

received from his attorney was corrected by the trial court at the Rule 11

hearing, and thus [defendant] was not prejudiced”). Similarly, in United

States v. Lambey, 974 F.2d 1389 (4th Cir. 1992) (en banc), the Fourth

Circuit stated that “if the information given by the court at the Rule 11

hearing corrects or clarifies the earlier erroneous information given by the

defendant's attorney and the defendant admits to understanding the court's

advice, the criminal justice system must be able to rely on the subsequent


                                     33

  Case 1:08-cr-00082-MR-WCM    Document 134     Filed 02/03/14   Page 33 of 36
dialogue between the court and defendant.” Id. at 1395. Petitioner cannot

show prejudice, even if misadvised by Ms. Jayne, because he was properly

advised as to the statutory maximum terms of imprisonment by the Court

during the Rule 11 hearings and he affirmed his understanding that he

could be sentenced to maximum terms of twenty years, ten years, and

twenty years, respectively. Accordingly, his claim of ineffective assistance

of counsel on this issue fails.

IV.   CONCLUSION

      For the reasons stated herein, the Court finds that Petitioner is not

entitled to relief, and the Court will therefore dismiss the motion to vacate.

To this extent, the Court grants Respondent’s motion for summary

judgment. Furthermore, Petitioner’s various motions for discovery will be

denied, as Petitioner has not met the burden of showing that he is entitled

to discovery.

      The Court further finds that Petitioner has not made a substantial

showing of a denial of a constitutional right. See generally 28 U.S.C. §

2253(c)(2); see also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in

order to satisfy § 2253(c), a “petitioner must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims

debatable or wrong”) (citing Slack v. McDaniel, 529 U.S. 473, 484-85


                                       34

  Case 1:08-cr-00082-MR-WCM       Document 134   Filed 02/03/14   Page 34 of 36
(2000)).     Petitioner has failed to demonstrate both that this Court’s

dispositive procedural rulings are debatable, and that the Motion to Vacate

states a debatable claim of the denial of a constitutional right. Slack v.

McDaniel, 529 U.S. at 484-85. As a result, the Court declines to issue a

certificate of appealability. See Rule 11(a), Rules Governing Section 2255

Proceedings for the United States District Courts, 28 U.S.C. § 2255.



                                  ORDER

     IT IS, THEREFORE, ORDERED THAT:

     1. The Government’s Motion for Summary Judgment [Doc. 12] is

           GRANTED.

     2. Petitioner’s Section 2255 Amended Motion to Vacate, Set Aside,

           or Correct Sentence [Doc. 1] is DENIED and DISMISSED with

           prejudice.

     3. Petitioner’s Renewed Motion Requesting Leave to Conduct

           Discovery [Doc. 16], Petitioner’s Renewed Motion to Expand the

           Record [Doc. 18], and Petitioner’s Renewed Motion Requesting

           Psychological Expert to Establish Matter for the Defense Pursuant

           to 18 U.S.C. 3006A [Doc. 19] are DENIED.

     4. The Court declines to issue a certificate of appealability.


                                      35

  Case 1:08-cr-00082-MR-WCM     Document 134   Filed 02/03/14   Page 35 of 36
   IT IS SO ORDERED.

                            Signed: February 3, 2014




                                      36

Case 1:08-cr-00082-MR-WCM    Document 134              Filed 02/03/14   Page 36 of 36
